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                        EXHIBIT 6
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User Name: Maddy Sinkovich
Date and Time: Monday, May 3, 2021 4:25:00 PM EDT
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 1. HD Brous & Co. v. Mrzyglocki, 2004 U.S. Dist. LEXIS 3095
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                                    HD Brous & Co. v. Mrzyglocki
                          United States District Court for the Southern District of New York
                               February 25, 2004, Decided ; February 26, 2004, Filed
                                                 03 Civ. 8385 (CSH)

Reporter
2004 U.S. Dist. LEXIS 3095 *; 2004 WL 376555


HD Brous & Co., Inc., Petitioner, -against- Roman M.
                                                            Overview
Mrzyglocki, Respondent.
                                                            The arbitration sought by respondent was to proceed
                                                            according to a schedule set by the arbitrators. The
                                                            terms of the margin account agreement were
Subsequent History: Sanctions disallowed by HD              enforceable over petitioner. The agreement contained a
Brous & Co. v. Mrzyglocki, 2004 U.S. Dist. LEXIS 11245      broad-form arbitration clause in which it was agreed that
(S.D.N.Y., June 15, 2004)                                   all disputes between petitioner and respondent were to
                                                            be resolved in arbitration and the court was bound to
                                                            respect the agreement. Even if the agreement were, as
                                                            counsel for petitioner claimed, a contract between
Disposition: [*1] Petition to stay or enjoin the            respondent and another entity, petitioner was a named
arbitration denied. Petition dismissed, with prejudice.     beneficiary of the agreement. Petitioner also sought and
                                                            accepted significant benefits from the agreement.
                                                            Having knowingly accepted benefits from the
                                                            agreement, petitioner was estopped from disclaiming
                                                            the agreement to arbitrate. Since petitioner was bound
Core Terms                                                  by the agreement, it was bound to arbitrate "all past,
                                                            present, or future controversies" between itself and
arbitration, parties, Reply, terms, arbitration clause,     respondent, including its proposed statute of limitations
numbered paragraph, arbitration agreement, benefits,        defenses. The court also apprised petitioner's counsel of
business relationship, oral argument, disclaim, financial   the areas of its concerns and provided counsel a
services, courts, cases, agreement to arbitrate,            reasonable opportunity to respond as to whether
substantive law, margin account, diversity, documents,      counsel should have been sanctioned under Fed. R.
federal court, papers, state court, misleading, enjoin,     Civ. P. 11.
statute of limitations defense, terms of the agreement,
federal law, broad-form, provisions, timeliness




Case Summary                                                Outcome
                                                            The petition to stay or enjoin the arbitration pending
                                                            before the New York Stock Exchange was denied and
Procedural Posture                                          the petition was dismissed, with prejudice. The court
Petitioner sought to enjoin an arbitration pending before   awarded the opposing party attorney's fees. In addition
the New York Stock Exchange.                                to denying the petition, the court directed an order to
                                                            show cause to petitioner's counsel as to why sanctions
                                                            should not have been imposed.



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                                                                    Provisions > Arbitration Clauses

                                                                    Contracts Law > ... > Beneficiaries > Types of Third
LexisNexis® Headnotes                                               Party Beneficiaries > Intended Beneficiaries

                                                                    Business & Corporate Compliance > ... > Pretrial
                                                                    Matters > Alternative Dispute Resolution > Validity
                                                                    of ADR Methods

                                                                    Contracts Law > ... > Beneficiaries > Types of Third
    Administrative Law > Agency
                                                                    Party Beneficiaries > General Overview
    Adjudication > Alternative Dispute Resolution
                                                                HN2[ ]      Contract     Conditions      &     Provisions,
    Civil Procedure > ... > Alternative Dispute
                                                                Arbitration Clauses
    Resolution > Arbitration > General Overview
                                                                A party is estopped from denying its obligation to
    Business & Corporate Compliance > ... > Contracts
                                                                arbitrate when it receives a "direct benefit" from a
    Law > Contract Conditions &
                                                                contract containing an arbitration clause.
    Provisions > Arbitration Clauses

    Civil Procedure > ... > Arbitration > Federal
    Arbitration Act > General Overview                              Business & Corporate Compliance > ... > Contracts
                                                                    Law > Contract Conditions &
    Business & Corporate Compliance > ... > Pretrial                Provisions > Arbitration Clauses
    Matters > Alternative Dispute Resolution > Validity
    of ADR Methods                                                  Contracts Law > Third
                                                                    Parties > Beneficiaries > Claims & Enforcement
    International Trade Law > Dispute
    Resolution > International Commercial                       HN3[ ]      Contract     Conditions      &     Provisions,
    Arbitration > Arbitration                                   Arbitration Clauses

HN1[ ] Agency Adjudication, Alternative Dispute                 If a contract containing an arbitration clause is entered
Resolution                                                      into between parties with at least the partial purpose of
                                                                benefitting a third party and that party accepts those
The obligation to arbitrate is created by contract. It          benefits, the third party may not disclaim its duty to
follows that a party cannot be required to submit to            arbitrate under the agreement.
arbitration any dispute which he has not agreed so to
submit. It does not follow, however, that under the
Federal Arbitration Act an obligation to arbitrate
                                                                    Business & Corporate Compliance > ... > Contracts
attaches only to one who has personally signed the
                                                                    Law > Contract Conditions &
written arbitration provision. To the contrary, it is well-
                                                                    Provisions > Arbitration Clauses
established that non-signatories to an arbitration
agreement may nevertheless be bound to arbitrate
                                                                    Business & Corporate Compliance > ... > Pretrial
according to ordinary principles of contract and agency.
                                                                    Matters > Alternative Dispute Resolution > Validity
In Thomson-CSF, S.A. v. American Arbitration Ass'n the
                                                                    of ADR Methods
United States Court of Appeals for the Second Circuit
specified five principles in particular: (1) incorporation by
                                                                HN4[ ]      Contract     Conditions      &     Provisions,
reference; (2) assumption; (3) agency; (4) veil-
                                                                Arbitration Clauses
piercing/alter ego; and (5) estoppel.
                                                                Under well-settled United States Supreme Court and
                                                                Second Circuit case law, the federal courts are
    Business & Corporate Compliance > ... > Contracts           generally obliged to refrain from interfering with the
    Law > Contract Conditions &                                 authority assigned to arbitrators by parties to arbitration
                                                                agreements.

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                                                                   Business & Corporate Compliance > ... > Alternative
                                                                   Dispute Resolution > Arbitration > Arbitrability
    Business & Corporate Compliance > ... > Contracts
    Law > Contract Conditions &                                    Governments > Courts > Judicial Precedent
    Provisions > Arbitration Clauses
                                                                   Civil Procedure > ... > Alternative Dispute
    Civil Procedure > ... > Alternative Dispute                    Resolution > Arbitration > General Overview
    Resolution > Arbitration > General Overview
                                                                   Civil Procedure > ... > Arbitration > Federal
    Labor & Employment Law > Collective Bargaining &               Arbitration Act > General Overview
    Labor Relations > Labor Arbitration > Enforcement
                                                                   Business & Corporate
    Business & Corporate Compliance > ... > Pretrial               Compliance > ... > Arbitration > Federal Arbitration
    Matters > Alternative Dispute Resolution > Judicial            Act > Arbitration Agreements
    Review
                                                                   Business & Corporate Compliance > ... > Pretrial
    Business & Corporate Compliance > ... > Pretrial               Matters > Alternative Dispute Resolution > Validity
    Matters > Alternative Dispute Resolution > Validity            of ADR Methods
    of ADR Methods
                                                                   International Trade Law > Dispute
HN5[ ]      Contract     Conditions      &     Provisions,         Resolution > International Commercial
Arbitration Clauses                                                Arbitration > Arbitration

When the parties to a dispute have entered into an             HN7[   ] Arbitration, Arbitrability
arbitration agreement, a court's only functions to ensure
that there is an agreement to arbitrate, that the              United States Supreme Court precedent provides that
agreement is enforceable, and that the issues presented        questions of arbitrability must be addressed with a
to the arbitrators are within the scope of the arbitration     healthy regard for the federal policy favoring arbitration.
agreement.                                                     Any doubts concerning the scope of arbitrable issues
                                                               should be resolved in favor of arbitration.


    Business & Corporate Compliance > ... > Alternative
    Dispute Resolution > Arbitration > Arbitrability               Business & Corporate Compliance > ... > Contracts
                                                                   Law > Contract Conditions &
    Business & Corporate Compliance > ... > Pretrial               Provisions > Arbitration Clauses
    Matters > Alternative Dispute Resolution > Judicial
    Review                                                         Civil Procedure > ... > Alternative Dispute
                                                                   Resolution > Arbitration > General Overview
    Business & Corporate Compliance > ... > Pretrial
    Matters > Alternative Dispute Resolution > Validity            Business & Corporate Compliance > ... > Pretrial
    of ADR Methods                                                 Matters > Alternative Dispute Resolution > Validity
                                                                   of ADR Methods
HN6[   ] Arbitration, Arbitrability
                                                               HN8[ ]      Contract     Conditions      &     Provisions,
"Questions of arbitrability" are issues for judicial           Arbitration Clauses
determination unless the parties clearly and
unmistakably provide otherwise. Parties may, then,             Under the law of the Second Circuit, the scope of a
"provide" that even threshold issues of arbitrability are to   broad-form arbitration agreement includes issues
be decided by arbitrators. In the Second Circuit, issues       relating to timeliness.
relating to timeliness are treated as issues of
arbitrability.
                                                                   Business & Corporate Compliance > ... > Pretrial
                                                                   Matters > Alternative Dispute Resolution > Validity

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    of ADR Methods                                             aims of the Erie rule: discouragement of forum-shopping
                                                               and avoidance of inequitable administration of the laws.
    Civil Procedure > ... > Defenses, Demurrers &              In Hanna v. Plumer, the Supreme Court instructed
    Objections > Affirmative Defenses > General                federal courts to ask whether application of the State's
    Overview                                                   rule would make so important a difference to the
                                                               character or result of the litigation that failure to enforce
    Governments > Legislation > Statute of                     it would unfairly discriminate against citizens of the
    Limitations > General Overview                             forum State, or whether application of the rule would
                                                               have so important an effect upon the fortunes of one or
HN9[ ] Alternative Dispute Resolution, Validity of             both of the litigants that failure to enforce it would be
ADR Methods                                                    likely to cause a plaintiff to choose the federal court.

N.Y. C.P.L.R. § 7502(b) provides that a party to an
arbitration may assert a statute of limitations defense
before "the court."                                                Business & Corporate Compliance > ... > Pretrial
                                                                   Matters > Alternative Dispute
                                                                   Resolution > Mandatory ADR

    Civil Procedure > Preliminary                                  Business & Corporate Compliance > ... > Pretrial
    Considerations > Federal & State                               Matters > Alternative Dispute Resolution > Validity
    Interrelationships > Erie Doctrine                             of ADR Methods

    Civil Procedure > Preliminary                              HN12[    ] Alternative Dispute Resolution, Mandatory
    Considerations > Federal & State                           ADR
    Interrelationships > General Overview
                                                               Forum shopping concerns are particularly muted in
HN10[ ] Federal & State Interrelationships, Erie               cases involving N.Y. C.P.L.R. § 7502 because parties
Doctrine                                                       have already, by definition, done their shopping. As a
                                                               general rule, parties can only be compelled to submit to
Federal courts sitting in diversity apply state substantive    arbitration if they have already agreed to arbitrate
law and federal procedural law.                                controversies between them.



    Civil Procedure > Preliminary                                  Business & Corporate Compliance > ... > Alternative
    Considerations > Federal & State                               Dispute Resolution > Arbitration > Arbitrability
    Interrelationships > Erie Doctrine
                                                                   Governments > Legislation > Statute of
    Civil Procedure > Preliminary                                  Limitations > General Overview
    Considerations > Federal & State
    Interrelationships > General Overview                          Civil Procedure > ... > Alternative Dispute
                                                                   Resolution > Arbitration > General Overview
HN11[ ] Federal & State Interrelationships, Erie
Doctrine                                                           Business & Corporate Compliance > ... > Pretrial
                                                                   Matters > Alternative Dispute Resolution > Validity
Guaranty Trust Co. v. York established the long-lived              of ADR Methods
outcome-determinative test, which asks of a particular
law: Does it significantly affect the result of a litigation   HN13[    ] Arbitration, Arbitrability
for a federal court to disregard a law of a State that
would be controlling in an action upon the same claim          Where parties have agreed to arbitrate, questions of
by the same parties in a State court? In Hanna v.              arbitrability, including statute of limitations defenses, are
Plumer, the United States Supreme Court refined the            within the purview of the courts unless the parties have
Guaranty Trust rule, pointing out that the outcome-            already agreed to submit them to arbitration. This is true
determinative test was just one way to assess the twin         in both the federal system and in the New York courts.


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Where parties have agreed to send questions of               HN15[ ]     Contract      Conditions     &     Provisions,
arbitrability to arbitration, however, New York courts and   Arbitration Clauses
federal courts agree that the bargain should be
respected.                                                   N.Y. C.P.L.R. § 7502(b) does not give New York state
                                                             courts exclusive right to determine the merit of statute of
                                                             limitations defenses in arbitration cases. It simply
                                                             provides them with the power to do so as a function of
    Business & Corporate Compliance > ... > Contracts
                                                             the more general rights of parties to have their disputes
    Law > Contract Conditions &
                                                             settled by a court of law.
    Provisions > Arbitration Clauses

    Civil Procedure > ... > Arbitration > Federal
    Arbitration Act > General Overview                           Civil Procedure > Attorneys > General Overview

    Civil Procedure > ... > Alternative Dispute                  Civil Procedure > Sanctions > General Overview
    Resolution > Arbitration > General Overview
                                                                 Civil Procedure > Sanctions > Baseless
    Business & Corporate Compliance > ... > Pretrial             Filings > General Overview
    Matters > Alternative Dispute Resolution > Validity
    of ADR Methods                                           HN16[    ] Civil Procedure, Attorneys

    International Trade Law > Dispute                        Fed. R. Civ. P. 11(b) provides in part, that by presenting
    Resolution > International Commercial                    to the court a pleading, written motion, or other paper,
    Arbitration > Arbitration                                an attorney is certifying that the claims, defenses, and
                                                             other legal contentions therein are warranted by existing
HN14[ ]     Contract      Conditions     &     Provisions,   law or by a nonfrivolous argument for the extension,
Arbitration Clauses                                          modification, or reversal of existing law or the
                                                             establishment of new law. If the court determines, after
Under federal law and New York law, courts are               notice and a reasonable opportunity to respond, that
required to respect the bargains of parties to arbitration   Rule 11(b) has been violated, the court may sanction an
agreements.                                                  attorney. Fed. R. Civ. P. 11(c).



    Business & Corporate Compliance > ... > Contracts            Civil Procedure > Sanctions > Baseless
    Law > Contract Conditions &                                  Filings > General Overview
    Provisions > Arbitration Clauses
                                                                 Civil Procedure > Sanctions > General Overview
    Civil Procedure > ... > Alternative Dispute
    Resolution > Arbitration > General Overview              HN17[    ] Sanctions, Baseless Filings

    Governments > Legislation > Statute of                   Sanctions may be sought by a party on motion, Fed. R.
    Limitations > General Overview                           Civ. P. 11(c)(1)(A), or the court on its own initiative may
                                                             enter an order describing the specific conduct that
    Civil Procedure > ... > Defenses, Demurrers &            appears to violate subdivision (b) and directing an
    Objections > Affirmative Defenses > General              attorney, law firm or party to show cause why it has not
    Overview                                                 violated subdivision (b) with respect thereto.

    Business & Corporate Compliance > ... > Pretrial
    Matters > Alternative Dispute Resolution > Judicial
                                                                 Civil Procedure > Sanctions > General Overview
    Review
                                                                 Constitutional Law > ... > Fundamental
    Business & Corporate Compliance > ... > Pretrial
                                                                 Rights > Procedural Due Process > Scope of
    Matters > Alternative Dispute Resolution > Validity
                                                                 Protection
    of ADR Methods

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HN18[   ] Civil Procedure, Sanctions                            Business & Corporate Compliance > ... > Pretrial
                                                                Matters > Alternative Dispute Resolution > Validity
Due process requires that courts provide notice and an          of ADR Methods
opportunity to be heard before imposing any kind of
sanctions.                                                      Contracts Law > Third
                                                                Parties > Beneficiaries > Claims & Enforcement

                                                            HN22[ ]     Contract      Conditions      &     Provisions,
    Civil Procedure > Sanctions > General Overview
                                                            Arbitration Clauses
    Constitutional Law > ... > Fundamental
                                                            The doctrine of estoppel in the context of arbitration
    Rights > Procedural Due Process > Scope of
                                                            agreements is designed to prevent a non-signatory from
    Protection
                                                            embracing a contract, and then turning its back on the
                                                            portions of the contract, such as an arbitration clause,
HN19[   ] Civil Procedure, Sanctions
                                                            that it finds distasteful. The key holding in DuPont is that
The district court possesses the inherent power to levy     a non-signatory should not be permitted to embrace a
sanctions. Neither the adoption of 28 U.S.C.S. § 1927, a    contract for some purposes and then disclaim that same
federal statute authorizing sanctions, nor the Federal      contract's unfavorable terms.
Rules of Civil Procedure displace the inherent power of
the court to sanction. The same due process concerns
apply, whatever the source of the district court's
sanctioning authority.
                                                            Counsel: For Roman M. Mrzyglocki, Respondent: Peter
                                                            S. Pearlman, LEAD ATTORNEY, Cohn, Lifland,
                                                            Pearlman, Herrmann & Knopf, LLP, Saddle Brook, NJ.
    Civil Procedure > Sanctions > Baseless
    Filings > General Overview
                                                            For HD Brous & Co., Inc., Petitioner: Barry R. Temkin,
    Civil Procedure > Sanctions > General Overview          LEAD ATTORNEY, Jacobowitz Garfinkel & Lesman,
                                                            New York, NY.
HN20[   ] Sanctions, Baseless Filings

Not all oral statements to a court are sanctionable under
Fed. R. Civ. P. 11.                                         Judges: CHARLES S. HAIGHT, JR., UNITED STATES
                                                            DISTRICT JUDGE.


    Civil Procedure > Sanctions > Baseless
    Filings > General Overview
                                                            Opinion by: CHARLES S. HAIGHT, JR.
    Civil Procedure > Sanctions > General Overview

HN21[   ] Sanctions, Baseless Filings
                                                            Opinion
Failures to cite and address contrary authority are
subject to Fed. R. Civ. P. 11 sanction.

                                                            MEMORANDUM OPINION, ORDER, AND ORDER TO
                                                            SHOW CAUSE
    Business & Corporate Compliance > ... > Contracts
    Law > Contract Conditions &
    Provisions > Arbitration Clauses                        HAIGHT, Senior District Judge:

    Civil Procedure > ... > Alternative Dispute             This is a petition to enjoin an arbitration currently
    Resolution > Arbitration > General Overview             pending before the New York Stock Exchange

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("NYSE"). For reasons set forth below the petition is            transactions and failures to act on Respondent's
denied. The arbitration sought by Respondent will                directions.
proceed according to a schedule set by the arbitrators.
Denial of the petition intimates no view of the Court on         On July 18, 2003 the NYSE served Petitioner with
Petitioner's proposed statute of limitations defense,            Respondent's Statement of Claim. On October 3, 2003
which may be presented to the arbitrators at Petitioner's        HD Brous filed a petition before the Supreme Court of
discretion. In addition to denying the petition, the Court       New York, New York County, seeking to enjoin the
will direct an order to show cause to Petitioner's counsel       arbitration pursuant to Section 7502(b) of the New York
under Federal Rule of Civil Procedure 11(c)(1)(B) [*2] .         Civil Practice Law and Rules [*4] , asserting that
                                                                 Respondent's claims were time-barred. On that date
I. BACKGROUND                                                    Justice Emily Jane Goodman issued an Order to Show
                                                                 Cause wherein Respondent was directed to appear in
According to the memoranda and supporting papers
                                                                 New York Supreme Court on October 30, 2003. Justice
filed with this Court by the parties in the above
                                                                 Goodman declined to issue a Temporary Restraining
captioned action, Respondent, Roman Mrzyglocki, was
                                                                 Order as part of the Order to Show Cause. 1
a client of HD Brous & Co., Inc., Petitioner, from late
1996 until March of 1998. HD Brous is a financial                Respondent filed a Notice of Removal in this Court on
services organization and a New York Corporation.                October 23, 2003. The matter was subsequently
Mrzyglocki is a resident of New Jersey. During the               referred to me by normal administrative procedures.
period of their business relationship, Respondent                With the Notice of Removal, Respondent filed his
alleges that he lost over $ 180,000 as a result of               "Memorandum of Law in Opposition to Petitioner's
transactions and investments made by and through                 Application to Stay Arbitration" (the "Response"). On
Petitioner that were at odds both with responsible               November 20, 2003 Petitioner filed a timely Reply (the
business practices and with Respondent's expectations            "Reply"). The events recounted above [*5] have put HD
and instructions.                                                Brous's fully-briefed petition before this Court.
As part of the business relationship entered into by             In the course of reviewing papers submitted by the
Petitioner and Respondent, Mrzyglocki signed a Margin            parties the Court became concerned with a series of
Account Agreement (the "Agreement"), which included              shifts in Petitioner's positions on critical issues of law
an arbitration agreement. A copy of the Agreement has            and fact. Foremost of these was Petitioner's reversal as
been provided to the Court as Exhibit C, attached to the         to whether or not the arbitration agreement, presented
sworn affidavit of Robert Brous, Chief Executive Officer         to the Court by Robert Brous himself, formed part of a
of HD Brous. In his affidavit Brous testifies that the           binding contract between the parties. To resolve this
Agreement was completed and signed during the                    question, amongst others, the Court scheduled an oral
course of opening Respondent's account with HD                   argument on the petition by an Order dated January 13,
Brous. Brous Affidavit at 2. Brous further relies upon           2004 (the "January 13, 2004 Order").
Exhibit C, asserting [*3] that it, by a choice of law
provision, binds the parties to apply Maryland law to            That argument was commenced, as scheduled, on
their disputes. Id. at 3. These assertions are repeated in       January 21, 2004. At the end of the hearing the Court
the petition filed by HD Brous in the State court.               invited the parties to provide the Court with written
                                                                 submissions detailing any additional cases or other
On June 26, 2003 Respondent filed a Statement of                 sources of law the Court should consider. Petitioner
Claim, in accordance with the arbitration rules of the           obliged in the form of a letter dated January 28, 2004.
New York Stock Exchange ("NYSE"), demanding                      Respondent, in conformance with the directions of the
arbitration of claims against Petitioner arising from HD         Court, responded with his own letter on February 2,
Brous's alleged mishandling of his account. In his Claim,        2004. The Court has given full consideration to the
Respondent alleges that Petitioner and its agent,                arguments of the parties and the relevant law. For
Timothy Mann, breached their fiduciary duties to
Respondent by engaging in a series of high-risk
transactions that resulted in the above-mentioned
                                                                 1A  copy of Justice Goodman's Order to Show Cause provided
losses. Respondent further alleges violations of National
                                                                 to the Court evinces her intention to not issue a Temporary
Association of Securities Dealers ("NASD") and NYSE
                                                                 Restraining Order. A paragraph providing for a temporary
rules and regulations, citing, inter alia, alleged failures to
                                                                 restraint included in HD Brous's proposed Order was manually
inform     Respondent       about     critical    investment     stricken on the Order signed by Justice Goodman.

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reasons set forth below it declines to issue the                   7502 [*8] . In support of this contention counsel point
requested order enjoining arbitration. [*6] This Court             out that the only basis for this Court to assert jurisdiction
makes no comment on the merits of either Petitioner's              over the subject-matter in this case is pursuant to 28
statute of limitations defense or Respondent's claims. In          U.S.C. § 1332. Thus, counsel conclude, the Court is
their present posture, these issues are rightfully the             bound to receive and consider the petition pursuant to
concern of the arbitrators, not this Court.                        N.Y. CPLR § 7502 because, in diversity cases, "state
                                                                   substantive law must be applied." Reply at 1. In their
II. DISCUSSION
                                                                   Reply counsel for Petitioner also, for the first time and
The weight of Petitioner's argument for a court imposed            after having relied upon the Agreement in earlier
stay on the arbitration pending before the NYSE is                 submissions to the State court, claim that HD Brous is
borne by the assertion that Respondent's claims are                not a signatory to the Agreement and is, therefore, not
time-barred. Petitioner points out that March 1998                 bound by either the choice of law provisions in
marks the end of its business relationship with                    numbered paragraph 17, Reply at 11, of the Agreement
Respondent.        Therefore,        Petitioner       argues,      or the broad-form arbitration agreement in numbered
Respondent's claim for arbitration, filed in June of 2003,         paragraph 19 of the Agreement, Reply at 7-8.
relies on events more than five years in the past.
                                                                   The Court finds that the terms of the Margin Account
Petitioner further claims, in its original petition, that this
                                                                   Agreement are enforceable over Petitioner. Numbered
five-year period exceeds the statutes of limitation on
                                                                   paragraph 19 of the Agreement contains a broad-form
Respondent's claims under both federal law and
                                                                   arbitration clause in which "it is agreed" that all disputes
Maryland law. 2
                                                                   between Petitioner and Respondent will be resolved in
                                                                   arbitration. This Court is bound to respect this
 [*7] Mrzyglocki responds, after having removed the
                                                                   agreement. It will, therefore, decline [*9] to grant the
petition to this Court, with a series of conditional
                                                                   petition. Without commenting on the merits of
arguments, beginning with an assertion that HD Brous
                                                                   Respondent's claims or Petitioner's proposed defenses,
can neither file a petition under N.Y. CPLR §§ 7502 and
                                                                   the Court will leave the arbitrators to do their duties.
7503 nor rely on New York case law because New York
law does not govern the dispute. Respondent contends
that New Jersey law should apply in this case and
                                                                   A. Petitioner is Bound by the Terms of the Margin
argues that his claim for arbitration is timely under the
                                                                   Agreement
six-year statute of limitations that governs his claims
under New Jersey common law. Next, Respondent                      Petitioner, through the affidavit of Robert Brous and in
argues that, "even if New York law did apply, the issue            its original petition, presents the Agreement as a
of whether Mrzyglocki's claims are time-barred is a                document forming part of its business relationship with
question for the arbitrators, rather than the courts, to           Respondent. In its petition, HD Brous relies upon
decide" under the broad-form arbitration agreement                 numbered paragraph 17 of the Agreement to argue that
signed by the parties. Response at 5. Finally,                     Maryland and federal law should apply to Respondent's
Respondent argues that, even if New York law applies               claims. In a radical change of position, counsel for
and all issues relating to his claims were not destined            Petitioner assert in their Reply that Petitioner is not
for the arbitrators by way of the arbitration agreement,           bound by the terms of the Agreement because it is not a
HD Brous was untimely in making its petition under N.Y.            signatory. Counsel repeated this claim at the oral
CPLR §§ 7502 and 7503.                                             argument and do so again in the letter to their January
                                                                   28 letter. Counsel's attempts to distance their client from
In reply, Petitioner again contends that it may move for           the Agreement are misleading and fruitless. The
an injunction in this Court pursuant to N.Y. CPLR §                Agreement serves as evidence that Petitioner agreed,
                                                                   along with Respondent, to arbitrate all controversies
2 Maryland  law is of interest because it is named, with federal   between them. Petitioner has also claimed benefits from
law, in a choice of law provision, found in paragraph 17 of the    the Agreement and is, on this basis, estopped from
Agreement. HD Brous's reference to Maryland law as the             disclaiming the arbitration clause.
controlling substantive law in its petition is in direct
contradiction to two assertions that counsel for HD Brous          [*10] 1. The Margin Agreement Documents Terms
make in the Reply: 1) that New York substantive law should         Affecting Respondent's Business Relationship with
apply and 2) that HD Brous is not bound by the terms of the        Petitioner
Agreement.

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Petitioner is not a signatory to the Agreement. In their    account." Brous Affidavit at 2. It became clear at the oral
Reply, counsel for Petitioner represent that the            argument that, consistent with the normal business
Agreement is signed "by a Maryland clearing firm, Alex,     practices of HD Brous, Petitioner presented the
Brown & Sons, Inc." Reply at 7. From these facts,           Agreement to Respondent along with a "new account
counsel would have this Court conclude that the             form" and "account transfer documents." The "new
Agreement is a contract between Alex, Brown and             account form," Exhibit B attached to the affidavit of
Respondent in which Petitioner does not participate,        Robert Brous, consists of one page and provides no
from which Petitioner does not benefit, and by which-       details as to the features and limitations of the business
Petitioner is not bound. Counsel are wrong on all           relationship between Petitioner and Respondent. The
scores.                                                     "account transfer documents" perform the job suggested
                                                            by their title, but provide no details whatever as to the
To start, counsel's claim that Alex, Brown signed the       business      relationship   between     Petitioner    and
Agreement is not accurate. The agreement is, in fact,       Respondent. The Agreement, presented to Respondent
only signed by Respondent. Alex, Brown & Sons ("Alex,       by Petitioner, is the only document of substance offered
Brown") is named in the agreement and its corporate         by either party relating to the business relationship
name and address appear at the top of the document.         formed between the parties when Respondent opened
There is, however, no signature line for Alex, Brown, its   his account with Petitioner.
representative, or any parties other than prospective
clients. Alex, Brown also does not appear in a first-       The Agreement is not, as counsel for Petitioner want the
person speaking role at any point in the Agreement.         Court to believe, an agreement solely between and
                                                            affecting Respondent and Alex, Brown. The
The document does not purport to speak for anyone           Agreement [*13] makes reference to Petitioner no
other than Respondent. There are three parties              fewer than twenty times. That is so, notwithstanding the
contemplated in the Agreement: the signatory [*11]          fact that HD Brous's name does not appear in the
client (Respondent), Alex, Brown, and the client's          Agreement. The Agreement's references are to the
"Financial Services Organization." At the oral argument,    "Financial Services Organization," and to the
counsel for Petitioner admitted that HD Brous is the        "correspondent." It is not disputed that HD Brous is the
Financial Services Organization named in the
                                                            subject of these references. As examples, in numbered
Agreement. Pursuant to paragraph 1 of the Agreement,
                                                            paragraph 2 Respondent agrees to delegate authority to
all uses of the first-person in the Agreement refer to
                                                            Petitioner; in numbered paragraphs 3, 11, and 13
Respondent. Most of the substantive paragraphs in the       Respondent describes how Petitioner will be involved in
Agreement find Respondent acting or reporting in his        the financing and handling of his accounts; in numbered
own voice. By contrast, Alex, Brown and HD Brous are        paragraph 4 Respondent agrees to make certain
silent in the Agreement. At no point in the document do     disclosures to Petitioner; in numbered paragraph 14
Alex, Brown or HD Brous speak or take action in the         Respondent sets forth the procedure by which he can
first-person.                                               object to Petitioner's handling of his funds and accounts;
In the first unnumbered paragraphs of the document,         in numbered paragraph 19 Respondent recites an
Respondent acknowledges that he has been informed           agreement amongst the parties that any disputes
by HD Brous that Alex, Brown will provide certain           between them will be sent to arbitration pursuant to the
services to HD Brous relating to Respondent's account.      Federal Arbitration Act.
Respondent also agrees that he has been informed
                                                            These facts and the form of the Agreement itself make
about and accepts certain features of and limitations on
                                                            the absence of Petitioner's signature on the document
his business relationship with Alex, Brown and HD
                                                            irrelevant. In its form and content the Agreement
Brous. These features and limitations are documented
                                                            demonstrates that Respondent has been informed of
in the remaining eighteen numbered paragraphs, all of       and agrees to certain features and requirements [*14]
which have Respondent acknowledging and agreeing to         of his account with HD Brous. It documents
features and limitations on his margin accounts with HD     Respondent's acceptance of terms on an offer of
Brous that are, as per HD [*12] Brous's arrangements        services extended by Petitioner and Alex, Brown.
with Alex, Brown, serviced by Alex, Brown.                  According to the Agreement, these terms and
                                                            information relating to the respective duties of the
According to the affidavit of Robert Brous, Respondent
                                                            parties were provided to Respondent by Petitioner. The
signed the Agreement "in the course of opening his
                                                            Agreement itself was, according to Robert Brous,

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provided to Respondent by Petitioner. The terms               with Respondent. Petitioner did none of these things.
documented in the Agreement are Petitioner's terms of
service. The Agreement does no more or less than              The title "Agreement" may be misleading to Petitioner,
document that Respondent, at the time he opened his           but the Court suspects not. Petitioner presented to
account with Petitioner, understood and accepted these        Respondent the terms set forth in the Agreement.
terms. Pursuant to terms documented in the Agreement,         Petitioner was present when Respondent accepted
Petitioner began to perform services for Respondent           these terms. The terms accepted by Respondent
and to claim benefits from their business relationship.       document details pertaining to the business relationship
Petitioner is, therefore, bound to abide by the terms of      being formed between Petitioner and Respondent.
the Agreement.                                                Respondent specifically names Petitioner as a
                                                              beneficiary of his acceptance of terms. Agreement at
The grammatical construction of the Agreement also            para. 2 ("I intend that my Financial Service Organization
provides strong evidence that it documents an                 be a beneficiary of this Agreement"). Petitioner, through
agreement between the parties as opposed to creating          its officer Robert Brous, is also the first party to use the
one. Most paragraphs in the Agreement are animated            Agreement as evidence of contract terms between itself
by a first-person present tense declarative such as "I        and Respondent. All of this [*17] suggests that
acknowledge," "I agree," and "I authorize." These             Petitioner knows that the Agreement accurately reports
paragraphs present a picture of duties, conditions,           the terms of its business relationship with Respondent.
and [*15] limitations being proposed to Respondent            Petitioner certainly relied upon this being the case in its
with Respondent acting affirmatively to accept them.          petition.
Consistent with the use of these first-person
declarations, the duties, acknowledgments, and                Petitioner made an offer of financial services to
agreements found in these paragraphs are uniquely             Respondent.       Respondent       accepted.    Petitioner
Respondent's.                                                 presented an Agreement to Respondent. According to
                                                              Respondent's reports in the Agreement, Petitioner
The contrasting choice of the phrase "It is agreed" at the    provided information and explanation pertinent to the
beginning of paragraph 19 is, in this context, quite          contract terms described in the Agreement. Respondent
revealing. The use of the third-person singular present       signed the Agreement. Petitioner accepted it without
tense indicative in combination with the past participle      alteration and without disclaiming Respondent's report,
clearly communicate the fact that the speaker, here           at paragraph 19 of the Agreement, that he, Petitioner,
Respondent, is reporting rather than acting. Specifically,    and Alex, Brown had agreed to arbitrate "all past,
he is reciting, from an objective point of view, an           present, or future controversies" between them.
agreement between Alex, Brown, HD Brous, and                  Petitioner has not produced any other document of
Respondent, "that all past, present, or future                substance that purports to set additional or alternative
controversies between myself, any persons having an           terms for its contract relationship with Respondent. After
interest in my account, Alex, Brown, [HD Brous], or any       the Agreement was signed, Petitioner accepted funds
of the employees or affiliates of either … shall be           from Respondent and acted as his "Financial Services
submitted to arbitration pursuant to the Federal              Organization." On this basis the Court concludes that
Arbitration Act."                                             the terms documented in the Agreement are binding
                                                              upon Petitioner as part of its contract relationship with
If Petitioner did not, as its counsel now claims, intend or   Respondent.
want to be bound by contract terms that it presented to
Respondent for his acceptance, then it could have taken       [*18] 2. Petitioner is Estopped from Disclaiming the
action to avoid any commitment. It could have                 Agreement to Arbitrate
disclaimed the contract [*16] terms set forth in
Respondent's acceptance. Having done so, Petitioner           Even if the Agreement were, as counsel for Petitioner
could have altered the Agreement or negotiated a              now claim, a contract between Respondent and Alex,
separate and superceding agreement. At the very least,        Brown only, HD Brous is a named beneficiary of the
a representative of HD Brous, one of whom was present         Agreement. Petitioner has also sought and accepted
when Respondent signed, could have manifested an              significant benefits from the Agreement. Having
unwillingness to be bound by the arbitration clause in        knowingly accepted benefits from the Agreement,
numbered paragraph 19 before accepting the signed             Petitioner is estopped from disclaiming the agreement to
Agreement and commencing a business relationship              arbitrate found in paragraph 19 of the Agreement.


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HN1[ ] The obligation to arbitrate is created by              beneficiary of the Agreement. Critical to the Third
contract. It follows that "a party cannot be required to      Circuit's analysis in that case was the fact that DuPont
submit to arbitration any dispute which he has not            was not a named beneficiary to the contract. See
agreed so to submit." United Steelworkers of America          DuPont, 269 F.3d at 196. That is not the case here.
v. Warrior & Gulf Navigation Co., 363 U.S. 574, 582, 4
L. Ed. 2d 1409, 80 S. Ct. 1347 (1960). "'It does not          Petitioner is, in fact, a knowing and intended beneficiary
follow, however, that under the [Federal Arbitration] Act     of the Agreement. In [*21] numbered paragraph 2 of
an obligation to arbitrate attaches only to one who has       the Agreement it is stated that "I intend that my
personally signed the written arbitration provision.'"        Financial Services Organization be a beneficiary of this
Thomson-CSF, S.A. v. American Arbitration Ass'n, 64           Agreement." As counsel for Petitioner admitted at oral
F.3d 773, 776 (2d Cir. 1995) (quoting Fisser v.               argument, Petitioner is the "Financial Services
International Bank, 282 F.2d 231, 233 (2nd Cir., 1960).       Organization" contemplated here and throughout the
To the contrary, it is well-established [*19] that "non-      Agreement. Given that Petitioner gave the Agreement to
signatories to an arbitration agreement may                   Respondent, as it has to many other clients, Petitioner
nevertheless be bound [to arbitrate] according to             knew, or should have known, that it was an intended
ordinary principles of contract and agency." McAllister       beneficiary. At the least, counsel for Petitioner could not
Bros. v. A & S Transportation, 621 F.2d 519, 524 (2nd         properly claim, without caveat or limitation, that it was
Cir., 1980) (citations omitted); Deloitte Noraudit A/S v.     not.
Deloitte Haskins & Sells, 9 F.3d at 1060, 1064 (2nd Cir.
                                                              Counsel's claim that Petitioner has not received and
1993). In Thomson-CSF, S.A. v. American Arbitration
                                                              accepted actual benefits from the Agreement is also
Ass'n the Second Circuit specified five principles in
                                                              inaccurate. According to the affidavit of Robert Brous,
particular: (1) incorporation by reference; (2)
                                                              Respondent completed the Agreement in the course of
assumption; (3) agency; (4) veil-piercing/alter ego; and
                                                              opening his account with Petitioner. Brous Affidavit at 2.
(5) estoppel.". 64 F.3d 773, 776 (2d Cir. 1995). See
                                                              In addition to being a foundational document for their
also Smith/Enron Cogeneration Ltd. P'ship v. Smith
                                                              business relationship, the Agreement sets forth, in
Cogeneration Int'l, Inc., 198 F.3d 88, 97 (2nd Cir.,
                                                              general and specific terms, how the relationship will
1999). Estoppel is the principle most relevant on the
                                                              function. The other documents provided by Petitioner
present facts.
                                                              are, by comparison to the Agreement, mere
                                                              bureaucratic necessities. The Agreement is the
HN2[ ] "A party is estopped from denying its obligation
                                                              document that does the most to establish and define
to arbitrate when it receives a 'direct benefit' from a
                                                              the [*22]     working     relationship   Petitioner   and
contract containing an arbitration clause." American
                                                              Respondent entered into. All of the benefits that accrued
Bureau of Shipping v. Tencara Shipyard S.P.A., 170
F.3d 349, 353 (2d Cir., 1999) (citing Thomson-CSF, 64         to Petitioner from this relationship over the next twenty-
F.3d at 778-779); Deloitte Noraudit A/S, 9 F.3d at            seven months flow from the Agreement and the
                                                              authority granted by Respondent to Petitioners in the
1064; [*20] Smith/Enron Cogeneration, 198 F.3d at 98.
                                                              Agreement.
If Petitioner here was an intended beneficiary of the
Agreement, knew that it was an intended beneficiary of
                                                              Though Petitioner is not a signatory to the Agreement,
the Agreement, and knowingly accepted benefits from
                                                              the fact that the Agreement intentionally benefits
the Agreement then it cannot selectively repudiate the
                                                              Petitioner by establishing the terms of its business
obligation to arbitrate set forth in the Agreement. See
                                                              relationship with Respondent is sufficient to bind
Thomson-CSF, 64 F.3d at 778, 779; Deloitte Noraudit,          Petitioner to the terms of the Agreement. See MAG
9 F.3d at 1064.                                               Portfolio Consult, GmbH v. Merlin Biomed Group, LLC,
                                                              268 F.3d 58, 63 (2nd Cir., 2001) (interpreting American
In the January 21, 2004 hearing counsel for Plaintiffs
                                                              Bureau of Shipping v. Tencara Shipyard S.P.A., 170
claimed that HD Brous is not a third-party beneficiary to
                                                              F.3d 349 (2d Cir., 1999)). HN3[ ] If a contract
the Agreement and did not, in fact, receive any benefits
                                                              containing an arbitration clause is entered into between
from the Agreement. Both assertions are wrong.
                                                              parties with at least the partial purpose of benefitting a
At the January 21, 2004 hearing and again in the letter       third party and that party accepts those benefits, the
to the Court counsel for Plaintiff's relied, misleadingly,    third party may not disclaim its duty to arbitrate under
on DuPont De Nemours & Co. v. Rhone Poulenc, 269              the agreement.       Tencara, 170 F.3d at 351. The
F.3d 187 (3rd Cir., 2001) to argue that Petitioner is not a   Agreement clearly intends to benefit Petitioner by


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establishing its business relationship with Respondent.        arbitration clause is not bound to arbitrate."
Knowing, as it did, about the Agreement and having
claimed the [*23] benefits of the relationship described       This argument and the reliance on Zimring are
in the Agreement, Petitioner is estopped from                  bewildering, if not frivolous. The facts presented to
disclaiming its duty to submit to arbitration under the        Judge McKenna in Zimring were entirely different from
Agreement.                                                     those here. In that case the plaintiff took affirmative
                                                               steps to specifically limit his participation in the contract
In addition to these general benefits Petitioner has also      to two particular provisions. Zimring 2000 U.S. Dist.
relied upon the Agreement to claim benefits in the             LEXIS 18221, [WL] at *1. Judge McKenna rightly
present litigation. In paragraph 10 of his Affidavit, Robert   concluded that, in those circumstances, the plaintiff
Brous, citing the Agreement, asserts that Maryland and         intended not to be bound by other provisions that he did
federal statutes of limitation govern Respondent's             not sign. In the case at bar, while Petitioner did not sign
arbitration claims. On page 3 of the Answer and Motion         the Agreement, it is specifically named as a participant
for More Definite Statement, Petitioner, referring to the      in and a beneficiary of the arbitration agreement in
Agreement, repeats this assertion. On page 4 of its            numbered paragraph 19.
petition to the Supreme Court of the State of New York,
Petitioner makes the same assertion, again relying upon        The Court is convinced that the form of the Agreement,
the Agreement.                                                 the content of the Agreement, and the circumstances
                                                               under which it was signed prove that Petitioner is a
The Second Circuit confronted a similar situation in           party to the contract described in the Agreement,
World Omni Fin. Corp. v. ACE Capital Re Inc., 64 Fed.          including the agreement to arbitrate. Even if the
Appx. 809, 2003 U.S. App. LEXIS 8441 (2nd Cir., May            Agreement is read as a two-party contract to which
2, 2003). There the plaintiff made damage claims that          Petitioner is not a signatory, Petitioner is an intended
were derived from a contract to which it is not a              beneficiary of the Agreement. [*26] Petitioner knew
signatory. When a defendant attempted to invoke the            that it was a beneficiary; and Petitioner accepted
arbitration clause of that same contract, the plaintiff        benefits from the Agreement. Furthermore, Petitioner
disclaimed the contract. In their Summary Order, the           has used the Agreement as a sword against
panel found that the plaintiff was estopped [*24] from         Respondent in the course of this litigation. Having
making the argument that it was not bound by the               knowingly accepted and sought benefits under the
arbitration clause since, amongst other reasons, it had        Agreement, Petitioner may not disclaim its duties under
attempted to derive direct benefits from the contract          numbered paragraph 19, where it is identified as a party
containing the clause in the very same litigation.             to the agreement to arbitrate.
Counsel's maneuvering on behalf of the Petitioner in the
case at bar is directly analogous. Petitioner laid claim to
the Agreement when it sought to limit Respondent's             B. Petitioner's Statute of Limitations Defenses are for
choice of substantive law. Having relied upon the              Arbitrators to Decide
Agreement for substantive benefit in this litigation,
                                                               Having held that Petitioner is bound by the terms of the
Petitioner is estopped from disclaiming its obligation to
                                                               Agreement, the Court will now consider the impact of
arbitrate under the Agreement. See Tencara 170 F.3d
                                                               the arbitration clause on the present petition. To this
at 353; Thomson-CSF 64 F.3d at 778, 779.
                                                               end, it is appropriate and necessary to consider the text
In the January 28, 2004 letter to the Court, counsel for       of the arbitration clause. In its entirety, it reads:
Petitioner suggest that, while Petitioner may be bound
                                                                   It is agreed that all past, present, or future
by some terms of the Agreement (presumably the
                                                                   controversies between myself, any persons having
choice of law clause), it is not necessarily bound by the
                                                                   an interest in my account, Alex, Brown, my
arbitration clause in paragraph 19 because "the court
                                                                   Financial Service Organization, or any of the
may separately consider and parse various provisions of
                                                                   employees or affiliates of either, concerning any
the contract." January 28 Letter at 2. Completing the
                                                                   transaction or the construction, performance, or
inference, counsel cite Zimring v. Coinmach Corp.,
                                                                   breach of this or any other agreement pertaining to
2000 U.S. Dist. LEXIS 18221, No. 00 Civ. 8111, 2000
                                                                   securities and other property, whether entered into
WL 1855115 (S.D.N.Y., Dec. 19, 2000), where, counsel
                                                                   prior [sic], on or subsequent [*27] to the date
reports, [*25] a company representative who "signed
                                                                   hereof, including but not limited to claims of fraud in
[a] portion of [the] agreement but did not sign [the]
                                                                   the inducement, shall be submitted to arbitration

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    pursuant to the Federal Arbitration Act. Any                to arbitrate found in numbered paragraph 19 of the
    arbitration under this Agreement shall be conducted         Agreement is binding on the parties to this litigation. The
    before the National Association of Securities               only issue remaining for the Court to decide is, then,
    Dealers, Inc. ("NASD") or any other securities              whether or not Petitioner's proposed statute of
    industry self-regulatory organization of which Alex,        limitations defense falls within the scope of this
    Brown or your correspondent is a member, in                 agreement.
    accordance with the rules then obtaining of such
    organization. The award of the arbitrator(s), or a          This is what courts have called a "question of
    majority of them, shall be final and judgment upon          arbitrability." HN6[ ] "Questions of arbitrability" are
    such award may be entered in any court having               "issues for judicial determination unless the parties
    jurisdiction. No person shall bring a putative or           clearly and unmistakably provide otherwise." At&T
    certified class action to arbitration, nor [sic] seek to    Technologies, Inc. v. Communications Workers, 475
    enforce any pre-dispute arbitration agreement               U.S. at 649 (emphasis added). Parties may, then,
    against any person who has initiated in court a             "provide" that even threshold issues of arbitrability are to
    putative class action, or who is a member of a              be decided by arbitrators. In the Second Circuit, issues
    putative class action until: (i) the class certification    relating to timeliness are treated as issues of
    is denied; or (ii) the class is decertified; or (iii) the   arbitrability. See Bybyk, 81 F.3d at 1199.
    customer is excluded from the class by the court.
    Such forbearance to enforce an agreement to                 The agreement to arbitrate mentions no state law.
    arbitrate shall not constitute a waiver of any rights       To [*30] the contrary, it specifically refers to the Federal
    under this Agreement except to the extent stated            Arbitration Act. Therefore, federal law and precedent
    herein.                                                     should guide this Court in reading and evaluating the
                                                                scope of the agreement. HN7[ ] Supreme Court
HN4[ ] Under well-settled United [*28]           States         precedent provides that "'questions of arbitrability must
Supreme Court and Second Circuit case law, the federal          be addressed with a healthy regard for the federal policy
courts are generally obliged to refrain from interfering        favoring arbitration' …. Any doubts concerning the
with the authority assigned to arbitrators by parties to        scope of arbitrable issues should be resolved in favor of
arbitration agreements. See generally Howsam v. Dean            arbitration." Mitsubishi Motors Corp. v. Soler Chrysler-
Witter Reynolds, Inc., 537 U.S. 79, 154 L. Ed. 2d 491,          Plymouth, Inc., 473 U.S. 614, 626, 87 L. Ed. 2d 444,
123 S. Ct. 588 (2002); EEOC v. Waffle House, 534                105 S. Ct. 3346 (1985) (quoting Moses H. Cone
U.S. 279, 151 L. Ed. 2d 755, 122 S. Ct. 754 (2002);             Memorial Hospital v. Mercury Construction Corp., 460
Mastrobuono v. Shearson Lehman Hutton, Inc., 514                U.S. 1, 24-25, 74 L. Ed. 2d 765, 103 S. Ct. 927 (1983)).
U.S. 52, 131 L. Ed. 2d 76, 115 S. Ct. 1212 (1995); Volt         Here, there is no doubt.
Information Sciences, Inc. v. Board of Trustees of
Leland Stanford Junior University, 489 U.S. 468, 103 L.         The arbitration clause is a classic example of a broad-
Ed. 2d 488, 109 S. Ct. 1248 (1988); Moses H. Cone               form arbitration agreement. HN8[ ] Under the law of
Memorial Hospital v. Mercury Construction Corp., 460            this Circuit, the scope of such agreements includes
U.S. 1, 74 L. Ed. 2d 765, 103 S. Ct. 927 (1983); Shaw           issues relating to timeliness. See Bybyk, 81 F.3d at
Group, Inc. v. Triplefine International Corp., 322 F.3d         1199-1200 ("The parties' broad grant of power to the
115 (2nd Cir., 2003); Painewebber, Inc. v. Bybyk, 81            arbitrators is unqualified by any language carving out
F.3d 1193 (2nd Cir., 1996); Porta Sys. Corp. v. Aponte,         substantive eligibility issues (with or without specific
00 Civ. 0087, 2000 U.S. Dist. LEXIS 20824 (S.D.N.Y.,            reference to timeliness) for resolution by the courts.
January 25, 2000).                                              Paine Webber is thus unable to overcome the [*31]
                                                                presumption established in the first of the above-listed
HN5[ ] When the parties to a dispute have entered into          provisions that 'any and all controversies' are to be
an arbitration agreement, a court's only functions to           arbitrated. An objective reading of the Agreement,
ensure that there is an agreement to arbitrate,                 therefore, leads us to conclude that the parties intended
that [*29] the agreement is enforceable, and that the           to arbitrate issues of arbitrability."); Porta Sys., 2000
issues presented to the arbitrators are within the scope        U.S. Dist. LEXIS 20824 at *2-*4; Coleman & Co. Sec. v.
of the arbitration agreement. See Howsam, 537 U.S. at           Giaquinto Family Trust, 00 Civ. 1632, 2000 U.S. Dist.
83;     At&T Technologies, Inc. v. Communications               LEXIS 16215 at *7 (Nov. 9, 2000). Since Petitioner is
Workers, 475 U.S. 643, 649, 89 L. Ed. 2d 648, 106 S.            bound by the Agreement, it is bound to arbitrate "all
Ct. 1415 (1986). The Court has held that the agreement          past, present, or future controversies" between itself and

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Respondent, including its proposed statute of limitations           of this designation under Erie v. Tompkins and its
defenses. The petition is, therefore, denied.                       progeny. 4 Counsel's conclusion is wrong because both
                                                                    of these premises are false.
C. N.Y. CPLR § 7502 Does Not Trump the Federal
Arbitration Act, Second Circuit Precedent, or United                 [*34] New York law would likely not be the appropriate
States Supreme Court Precedent in this Case.                        source of substantive law in this case. This Court has
                                                                    already held that the Margin Account Agreement recites
Counsel for Petitioner seeks to have this Court decide              binding terms of contract between the parties.
on the merits a proposed statute of limitations defense.            Numbered paragraph 17 of the Agreement states, in an
This remedy is sought based on counsel's conclusion                 objective mode, that "the rights of the parties [shall be]
that this Court must act under N.Y. CPLR § 7502(b),                 determined in accordance with the laws of the State of
which HN9[ ] provides that a party to an arbitration                Maryland and the United States, as amended, without
may assert a statute of limitations defense before                  giving effect to the choice of law or conflict-of-laws
"the [*32] court." This Court does not agree.                       provisions thereof." Just as the parties have bargained
                                                                    to refer controversies between them to arbitration, they
Counsel for Petitioner reaches their conclusion                     have bargained to have these controversies decided
because, as they note in Petitioner's Reply, the sole               according to Maryland and federal law. Were it called to
basis for the subject matter jurisdiction of this Court in          rule on this issue here, this Court would be loth to deny
the present case is 28 U.S.C. 1332. Given this fact,
                                                                    the parties the fruits of this bargain. 5 [*35] On this
counsel conclude that the Court must apply N.Y. CPLR
                                                                    basis, the Court would likely not impose New York law
§ 7502(b) because, in diversity cases, "state substantive
                                                                    on the parties. 6
law must be applied." Reply at 1. 3
                                                                    If the Court was to apply New York substantive law in
 [*33] It is a general rule that federal courts sitting in
                                                                    this case, it would not apply N.Y. CPLR § 7502(b).
diversity apply state substantive law. See Semtek v.
                                                                    Citing Erie v. Tompkins, among other authorities,
Lockheed Martin, 531 U.S. 497, 149 L. Ed. 2d 32, 121
                                                                    counsel for Petitioner asserts that, in this case, "state
S. Ct. 1021 (2001); Gasperini v. Center for Humanities,
                                                                    substantive law must be applied." Reply at 1. Counsel
518 U.S. 415, 135 L. Ed. 2d 659, 116 S. Ct. 2211
                                                                    assumes, without arguing, that New York Civil
(1996); Hanna v. Plumer, 380 U.S. 460, 14 L. Ed. 2d 8,
                                                                    Procedure Law and Rules Section 7502(b) is
85 S. Ct. 1136 (1965); Guaranty Trust Co. v. York, 326
                                                                    substantive rather than procedural. It is not.
U.S. 99, 89 L. Ed. 2079, 65 S. Ct. 1464 (1945); Erie v.
Tompkins, 304 U.S. 64, 82 L. Ed. 1188, 58 S. Ct. 817
                                                                    HN10[ ] "Federal courts sitting in diversity apply state
(1938). However, the conclusion proposed by counsel
                                                                    substantive law and federal procedural law." Gasperini,
for Petitioner, that this general rule requires that this
                                                                    518 U.S. at 427. The section at issue here, 7502(b), is
Court apply N.Y. CPLR § 7502(b) in this case, relies on
two premises that Petitioner does not defend. The first is
that the state law that should apply in this diversity              4 Infact, counsel for Petitioner, in another context and because
action is New York law. The second is that the N.Y.                 they must, on page 11 of Petitioner's Reply, argue that N.Y.
CPLR § 7502(b) is "substantive law" within the meaning              CPLR § 7502(b) is procedural rather than substantive law.
                                                                    This issue is discussed, infra, in the sanctions section of this
                                                                    Opinion.

3 The  Court need not test this argument to reach a decision on     5 Itis worth noting that the general choice of law provision
the present petition. Consistent with this Court's holding,         found in numbered paragraph 17 of the Agreement does not
supra, the parties' agreement to arbitrate reigns supreme.          limit or modify the terms and scope of the arbitration
According to the terms of their agreement, all controversies        agreement. See Mastrobuono v. Shearson Lehman Hutton,
between them, including questions of arbitrability, must be         514 U.S. 52, 131 L. Ed. 2d 76, 115 S. Ct. 1212 (1995); Bybyk,
sent to arbitration. Any rights or options provided by law, New     81 F.3d at 1200; Coleman, 2000 U.S. Dist. LEXIS 16215 at
York law included, are subject to the terms of that bargain.        *9; Smith Barney v. Sacharow, 91 N.Y.2d 39, 49, 689 N.E.2d
See Porta Systems, 2000 U.S. Dist. LEXIS 20824 at *2-*4.            884, 666 N.Y.S.2d 990 (N.Y., 1997).
Thus, the Court need not rule on the status and impact of N.Y.
CPLR § 7502(b). Given the role that this statute plays in HD        6 In its petition to the State court, Petitioner, relying on the
Brous's petition and in counsel's arguments in support of the       Agreement, argues for this same conclusion. Counsel
petition, however, a brief discussion of this choice of law issue   reverses this position in the Reply. This reversal is discussed,
is appropriate.                                                     infra, in the sanctions section of this Opinion.

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found in the New York Civil Procedure Rules and Law.            competing rules of service would have ended the
Of course, this title alone does not determine the true         litigation before consideration of the case on the merits.
nature of N.Y. CPLR 7502(b). N.Y. CPLR § 5501(c) has,           The other would have allowed the case to continue. The
for example, been determined to provide some                    choice between these two competing provisions would,
substantive [*36] rights that trump federal procedural          on this basis, have determined the outcome of the case.
rules in diversity cases. See e.g. Gasperini, 518 U.S. at       Moreover, it would have provided obvious motivations
427-430; Presley v. United States Postal Serv., 317             for forum shopping.
F.3d 167, 173 (2nd Cir., 2003). Similarly, the Supreme
Court has held that state rules establishing when an            The situation in this case is much different. N.Y. CPLR §
action commences trump Federal Rule of Civil                    7502(b) does not limit or expand the spectrum of
Procedure 3 in diversity cases. See Walker v. Armco             possible defenses available to Plaintiff. It does not
Steel Corp., 446 U.S. 740, 750-752, 64 L. Ed. 2d 659,           establish special rules of review. It does not affect
100 S. Ct. 1978 (1980) (reaffirming Ragan v. Merchants          burdens of proof. It does not shift or alter critical
Transfer & Warehouse Co., 337 U.S. 530, 93 L. Ed.               elements of a statute of limitations defense. It only
1520, 69 S. Ct. 1233 (1949)). Here, however, the                empowers New York courts to consider petitions
designation of § 7502(b) as "Procedural" is not merely a        asserting that arbitration claims are time barred.
matter of title, it is an accurate description.                 Assuming that there are right and wrong answers to the
                                                                questions posed by Petitioners proposed statute of
Classification of a law as "substantive" or "procedural" is     limitations defense, the outcome should not [*39] be
not always a transparent task. Since Erie, however, the         different if a court considers the defense as opposed to
Supreme Court has offered significant and helpful               an arbitrator. On this basis, the Court is not convinced
guidance to district courts embarking on this analysis.         that N.Y. CPLR § 7502(b) is, in any way, outcome
HN11[ ] Guaranty Trust Co. v. York established the              determinative. Its only effect is to allow courts to
long-lived outcome-determinative test, which asks of a          consider timeliness concerns rather than leaving these
particular law: "Does it significantly affect the result of a   issues to arbitrators.
litigation for a federal court to disregard a law of a State
that would [*37] be controlling in an action upon the           It is also hard to believe that N.Y. CPLR § 7502 would
same claim by the same parties in a State court?"               sponsor rampant forum shopping. Whether Petitioner's
Guaranty Trust, 326 U.S. at 109. This is, it seems, the         defenses are reviewed by a court or a panel of
rule invoked by counsel in Petitioner's Reply, where it is      arbitrators, the same legal standards will apply. The
claimed that "since the removal petition rests on               same relevant facts will be presented. Either body would
diversity jurisdiction, there is no reason for this Court to    be asked to play the same basic game of connecting the
reach a different result than a state court would in ruling     dots. See e.g. Zoll v. Ruder Finn, Inc., 2004 U.S. Dist.
on Brous' [sic] petition." Reply at 3. In Hanna v. Plumer,      LEXIS 144, Nos. 02 Civ. 3652 and 01 Civ. 1339, 2004
the Court refined the Guaranty Trust rule, pointing out         WL 42260 at *3 (S.D.N.Y., Jan. 7, 2004.). It is hard to
that the outcome-determinative test was just one way to         believe that potential litigants would spend time forum
assess "the twin aims of the Erie rule: discouragement          shopping solely in order to have these questions of
of forum-shopping and avoidance of inequitable                  arbitrability decided by a court rather than by an
administration of the laws." Hanna, 380 U.S. at 468.            arbitrator, or vice-versa.
See also Semtek, 531 U.S. at 504 (citing and applying
the rule from Hanna).                                           HN12[ ] Forum shopping concerns are particularly
                                                                muted in cases involving N.Y. CPLR § 7502 because
In Hanna v. Plumer, the Supreme Court instructed                parties have already, by definition, done their shopping.
federal courts to ask "whether application of the [State's]     As a general rule, [*40] parties can only be compelled
rule would make so important a difference to the                to submit to arbitration if they have already agreed to
character or result of the litigation that failure to enforce   arbitrate controversies between them. See United
it would unfairly discriminate against citizens of the          Steelworkers of America v. Warrior & Gulf Navigation
forum State, or whether application of the rule would           Co., 363 U.S. 574, 582, 4 L. Ed. 2d 1409, 80 S. Ct.
have so important an effect [*38] upon the fortunes of          1347 (1960). As discussed infra, HN13[ ] where
one or both of the litigants that failure to enforce it would   parties have agreed to arbitrate, questions of
be likely to cause a plaintiff to choose the federal court."    arbitrability, including statute of limitations defenses, are
Hanna, 380 U.S. at 468. In Hanna, the Court was                 within the purview of the courts unless the parties have
confronted with a situation in which one of two                 already agreed to submit them to arbitration. This is true

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in both the federal system and in the New York courts.        nonfrivolous argument for the extension, modification, or
Where parties have agreed to send questions of                reversal of existing law or the establishment of new law
arbitrability to arbitration, however, New York courts and    …" If the court determines, "after notice and a
federal courts agree that the bargain should be               reasonable opportunity to respond," that Rule 11(b) has
respected. See Mastrobuono v. Shearson Lehman                 been violated, the court may sanction an attorney. Rule
Hutton, 514 U.S. 52, 131 L. Ed. 2d 76, 115 S. Ct. 1212        11(c). HN17[ ] Sanctions may be sought by a party on
(1995); Painewebber, Inc. v. Bybyk, 81 F.3d 1193,             motion, Rule 11(c)(1)(A), or the court on its own
1199 (2nd Cir., 1996); Smith Barney Shearson Inc. v.          initiative "may enter an order describing the specific
Sacharow, 91 N.Y.2d 39, 689 N.E.2d 884, 666 N.Y.S.2d          conduct that appears to violate subdivision (b) and
990 (N.Y., 1997). This is certainly true here, where the      directing an attorney, [*43] law firm or party to show
Federal Arbitration Act is specified in the arbitration       cause why it has not violated subdivision (b) with
clause. See Sacharow, 91 N.Y.2d at 47-49; Prudential          respect thereto."
Securities v. Mandt, 205 A.D.2d 424, 424-425, 613
N.Y.S.2d 626 (N.Y. App. Div. 1st, 1994) [*41] ("the           HN18[ ] "Due process requires that courts provide
court committed reversible error in determining that the      notice and an opportunity to be heard before imposing
Federal Arbitration Act did not preempt a New York            any kind of sanctions." Nuwesra v. Merrill Lynch,
court's jurisdiction to determine the timeliness of the       Fenner & Smith, Inc., 174 F.3d 87, 92 (2d Cir. 1999)
appellant's claims.").                                        (citations and internal quotation marks omitted). In the
                                                              case at bar, the Respondent has not made a motion for
Here the parties have elected to have all controversies       sanctions. But I am considering on my own initiative
between them sent to arbitration under the Federal            whether Petitioner's attorneys should be sanctioned. In
Arbitration Act. They could have reached another              this circumstance, this Court is required "to apprise
bargain. See e.g. Coleman, 2000 U.S. Dist. LEXIS              [Petitioner's counsel] of the specific conduct alleged to
16215 at *8-*9. They did not. HN14[ ] Under federal           be sanctionable," and to give counsel "a reasonable
law and New York law, courts are required to respect          opportunity to respond." Id. at 92, 93. The discussion in
the bargains of parties to arbitration agreements. N.Y.       Part III of this Opinion is intended to apprise counsel of
CPLR § 7502(b) HN15[ ] does not give New York state           the areas of the Court's concern. A reasonable
courts exclusive right to determine the merit of statute of   opportunity for counsel to respond will be provided in
limitations defenses in arbitration cases. It simply          the Order to Show Cause with which this Opinion
provides them with the power to do so as a function of        concludes. 7
the more general rights of parties to have their disputes
settled by a court of law.
                                                              [*44] A. Maintenance of Contradictory Claims
The broad-form arbitration agreement entered into by
the parties provides clear evidence of the parties'           At different times in papers filed with the Court and in
intention to have all controversies between them arising      oral arguments made in support of these papers,
from their business relationship settled by an arbitrator     counsel make contradictory claims. The Court is
rather than a judge. That is the bargain of mutual            particularly concerned by three reversals of
consideration [*42] they have made. This Court will not       convenience. First, in the initial petition to the State
upset it, as it has been directed not to by the Second        court, counsel, relying on the Affidavit of Robert Brous,
Circuit and the United States Supreme Court. This Court       assert that the terms of the Margin Account Agreement
holds that all controversies between these parties,           are binding on the parties. In the Reply brief submitted
including Petitioner's proposed defenses, should and          to this Court, counsel reverse this position, without
will go to arbitration pursuant to the terms of their
agreement to arbitrate.
III. THE POSSIBLE IMPOSITION OF SANCTIONS
                                                              7I note in passing that HN19[ ] "the district court possesses
AGAINST COUNSEL FOR PETITIONER
                                                              the inherent power to levy sanctions. Neither the adoption of
Rule 11(b), Fed.R.Civ.P., provides, HN16[ ] in part,          28 U.S.C. § 1927, a federal statute authorizing sanctions, nor
                                                              the Federal Rules of Civil Procedure displace the inherent
that by presenting to the court a pleading, written
                                                              power of the court to sanction." Hotel St. George Associates
motion, or other paper, an attorney is certifying that "(2)
                                                              v. Morgenstern, 819 F. Supp. 310, 322 (S.D.N.Y. 1993). The
the claims, defenses, and other legal contentions
                                                              same due process concerns apply, whatever the source of the
therein are warranted by existing law or by a                 district court's sanctioning authority.

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reference to their previous position. Second, and by                  filed his Response. In the third, counsel maintained
extension, in the initial petition counsel claim that                 contradictory positions within the same argument newly
Maryland and federal law should be applied to                         made in the Reply. In all three cases, counsel's strategic
Respondent's claims. In the Reply brief submitted to this             timing denied Respondent of an opportunity both to
Court, counsel, again without reference to their previous             respond to arguments newly made in Reply and to point
position, assert that New York law should rule. 8 Third,              out counsel's irreverent inconsistency.
in the Reply brief itself counsel argue, initially, that N.Y.
CPLR § 7502(b) is "substantive law" under Erie v.                     Moreover, counsel attempted, at the oral argument, to
Tompkins and its progeny. Later in the same brief,                    capitalize on this "omission." There and then, counsel
however, counsel contend, because they must, that                     faulted Respondent for not presenting reasons why
N.Y. CPLR § 7502(b) is merely procedural law.                         Petitioner should be bound to the terms of the Margin
                                                                      Account Agreement. Counsel repeats this charge in
 [*45] None of these contradictory arguments is made                  their January 28, 2004 letter to the Court. As the Court
in the alternative. 9 In fact, counsel do not, for obvious            pointed out to counsel at the oral argument, Respondent
reasons, even point out the contradictions. They                      had no reason to make such arguments in his
certainly do not provide any explanation. Rather,                     Response. Robert Brous recognized the Agreement in
counsel exhibit a pattern of shifting their position at their         his affidavit submitted with the original petition.
convenience. Without providing the Court with                         Furthermore, in the original petition, counsel not only did
explanation for these shifts, the contradictions give rise            not disclaim the terms of the Agreement, [*47] they
to an inference that at least one half of each mutually               actively relied upon them. The timing of these reversals
exclusive pairing is a potential violation of Rule 11(b)(2).          and counsel's attempt to capitalize on them are subject
Furthermore,      counsel's     maintenance      of   these           to sanction under Rule 11.
contradictions of convenience in papers submitted to the
Court may, of itself, be sanctionable under Rule 11.                  While HN20[ ] not all oral statements to a Court are
                                                                      sanctionable under Rule 11, counsel's conduct at oral
 [*46] Counsel's behavior in this regard is particularly              argument clearly enjoys a close enough nexus to the
troublesome since it effectively denied Respondent an                 underlying papers to bring it within the scope of Rule 11.
opportunity to respond. In the first two cases, counsel               See O'Brien v. Alexander, 101 F.3d 1479 (2d. Cir.,
took a position in the petition to the State court,                   1996). Counsel's conduct in this regard is also subject to
reversing themselves in the Reply after Respondent had                sanctions under 28 U.S.C. § 1927 as evidence of
                                                                      "dilatory tactics." See U.S. v. International Brotherhood
                                                                      of Teamsters, 948 F.2d 1338, 1345 (2d. Cir., 1991).
8 These   first two examples involve the original petition filed in
State court. In removal cases, such as this, papers originally
filed in State court cannot, of themselves, be the basis for Rule     B. Misleading Use of Authority
11 sanctions. See Stiefvater Real Estate, Inc. v. Hinsdale,
812 F.2d 805 (2d Cir., 1987). In this case, however, the              In papers filed with the Court and in oral argument
Court's concern is not with the petition itself or with claims        expanding upon and supporting these papers, counsel
therein. The present concern is with the shift of position in the     for Petitioner have made inappropriate and misleading
Reply filed with this Court and with counsel's attempt to             use of authority.
prejudice Respondent by the timing of these reversals.

9 In
                                                                      First, on page 2 of the Reply and again at the oral
     the case of the third example, counsel's contradictory
                                                                      argument counsel cited Smith Barney v. Sacharow, 91
arguments are part of a single argument. On pages 1, 2, and 7
of the Reply counsel argues that N.Y. CPLR § 7502(b) is               N.Y.2d 39, 47, 689 N.E.2d 884, 666 N.Y.S.2d 990 (N.Y.,
substantive law, concluding that it must be applied by this           1997) for the proposition that "a New York state court
Court sitting in diversity. On page 11 of the Reply counsel           would enjoin the arbitration under CPLR 7502." Reply at
assert that N.Y. CPLR § 7502(b) is merely procedural in order         2. Counsel repeated this use of Sacharow in [*48] the
to escape from the choice of law provision in numbered                January 28, 2004 letter to the Court, stating that "it is
paragraph 17 of the Margin Account Agreement, which they              clear that a New York Court would have enjoined the
fear might trump their Erie argument on pages 1 and 2.                arbitration pursuant to CPLR § 7502." January 28 Letter
Counsel do not take note of, much less explain, this                  at 3, citing Sacharow, among other cases. In fact, the
contradiction in the hope, one supposes, that, having denied          New York Court of Appeals' holding in Sacharow is quite
Respondent a chance to point out the problem, the Court
                                                                      the opposite. The Court held that, under the broad-form
would not recognize the contradiction on its own.

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arbitration agreement entered into by the parties before      17 mentions only Maryland and federal law. The
them, a proposed statute of limitations defense should        arbitration clause mentions no other legal authority than
be decided by arbitrators. Smith Barney v. Sacharow,          the Federal Arbitration Agreement. Despite counsel's
91 N.Y.2d 39, 47, 689 N.E.2d 884, 666 N.Y.S.2d 990            representation to the contrary, then, Coleman
(N.Y., 1997). The Court so held despite the fact that the     unambiguously supports Respondent in this case. By
parties had also agreed to have their disputes resolved       citing the squib paragraph in the later Coleman decision,
under New York law. Id. at 47-49.                             counsel for Petitioner seems to attempt to mislead this
                                                              Court as to the nature and impact of Judge Chin's
Second, in the Reply, counsel cite Coleman & Co. v.           decision in Coleman.
Giaquinto, 236 F. Supp. 2d 288, 300 (S.D.N.Y., 2002)
for the general proposition that "Federal courts sitting in   Third, counsel for Petitioner cite the Second Circuit's
diversity have applied CPLR 7502 in removed cases to          decision in SG Cowen Securities Corp. v. Messih, 224
enjoin arbitrations on state statute of limitations           F.3d 79 (2d Cir., 2000) [*51] for the proposition that
grounds." Reply at 2. Counsel rely on this citation for       "federal courts sitting in diversity have applied CPLR
similar propositions throughout the Reply, at oral            7502 in removed cases to enjoin arbitrations on state
argument, and in the January 28, 2004 letter. Judge           statute of limitations grounds.". Reply at 2. This case did
Chin's actual and particularized holding in [*49] the         not deal with an arbitration agreement nor did it concern
cited case is "that by expressly providing for New York       N.Y. CPLR § 7502(b). The issue before the Second
law to govern the arbitration itself, the parties intended    Circuit in SG Cowen was the applicability of N.Y. CPLR
for the Court, rather than an arbitrator, to decide           § 7502(c), which contemplates the provision of
petitioners' statute of limitations defense." Id. at 294.     injunctive relief in support of arbitration. The specific
                                                              issues in SG Cowen had to do with what considerations
In support of this holding, Judge Chin cites, but does not    should guide decisions to grant injunctive relief. While
expand upon, his earlier decision in the same case,           the proposition forwarded by counsel, that courts in this
reported at Coleman & Co. v. Giaquinto, 00 Civ. 1632,         District have applied N.Y. CPLR § 7502, is general
2000 U.S. Dist. LEXIS 16215 (Nov. 9, 2000). There,            enough to find support in SG Cowen, reference to that
Judge Chin does follow N.Y. CPLR § 7502(b). His               case is misleading in the context of counsel's argument
choice to do so, however, turns on a choice of law            in the Reply, which is limited to N.Y. CPLR § 7502(b).
provision in the body of the arbitration clause before him
that specifically incorporated New York law. This, Judge      Fourth, in the Reply, at page 11, and at oral argument,
Chin concludes, evidenced an intention by the parties to      counsel claim that because Petitioner did not sign the
have the court decide timeliness issues. Absent this          Margin Account Agreement Petitioner is not bound by its
effort, Judge Chin points out, the broad-form agreement       terms. In support of this argument, counsel cite E.I.
would have led him to conclude that the parties intended      DuPont De Nemours v. Rhone Poulenc, 269 F.3d 187
to have timeliness issues and other issues of arbitrability   (3rd Cir., 2001) [*52] . As is evident, DuPont is a Third
decided by an arbitrator.                                     Circuit case. While it might be persuasive authority
                                                              before this Court, counsel fails to cite significant
In this earlier decision, Judge Chin also notes that a        contrary authority in this Circuit. See, e.g., American
general choice of law provision found elsewhere in the        Bureau of Shipping v. Tencara Shipyard S.P.A., 170
business agreement would not have led him to conclude         F.3d 349, 353 (2d Cir. 1999);                  Smith/Enron
that New [*50] York law was part of the arbitration           Cogeneration Ltd. P'ship v. Smith Cogeneration Int'l,
agreement in particular. Judge Chin has since been            Inc., 198 F.3d 88, 97 (2nd Cir., 1999); Thomson-CSF,
vindicated in this belief by Shaw Group, Inc., et al. v.      S.A. v. American Arbitration Ass'n, 64 F.3d 773 (2d Cir.
Triplefine International Corp., 322 F.3d 115, 123 (2d         1995); Deloitte Noraudit A/S v. Deloitte Haskins & Sells,
Cir., 2003) (citing and quoting with approval the year        9 F.3d at 1060 (2nd Cir. 1993); McAllister Bros. v. A &
2000 holding in Coleman "that provision for 'agreement        S Transportation, 621 F.2d 519, 524 (2nd Cir., 1980);
and its enforcement' to be governed by New York law           Fisser v. International Bank, 282 F.2d 231 (2nd Cir.,
did not evidence parties' intent to be bound by New York      1960). HN21[ ] Failures to cite and address contrary
arbitration law).                                             authority are subject to Rule 11 sanction. See Blissett
                                                              v. Casey, 969 F. Supp. 118, 124 (N.D.N.Y., 1997);
The agreement to arbitrate in the Margin Account
                                                              Allstate Ins. Co. v. Administratia Asigurarilor, 163 F.R.D.
Agreement makes no mention of New York law. The
                                                              196 (S.D.N.Y. 1995).
general choice of law provision in numbered paragraph


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In addition to this omission, counsel distorted the           the Agreement, it [*55] is specifically named as an
holding in DuPont at the oral argument and again on           intended beneficiary in numbered paragraph 2.
page 2 of the January 28, 2004 letter. [*53] In both of
these instances, counsel cited DuPont for the
proposition that Petitioner is not bound by the arbitration   D. Maintaining a Frivolous Petition
clause because it has not sought or asserted benefits
derived from the arbitration clause in particular. This is    While this Court has spilled considerable ink in setting
an obvious misstatement of the law and of the holding in      forth the reasons that it will deny the present petition,
DuPont. HN22[ ] The doctrine of estoppel in the               that ink need not have been spent. Despite counsel for
context of arbitration agreements is designed to              Petitioner's claims to the contrary, and consistent with
"prevent a non-signatory from embracing a contract, and       the analysis above, the facts and law are clear in this
then turning its back on the portions of the contract,        case. Petitioner entered into a business relationship with
such as an arbitration clause, that it finds distasteful."    Respondent. In initiating this relationship, Petitioner
DuPont, 269 F.3d at 200 (citing Tencara, 170 F.3d at          presented Respondent with certain terms. As is
353). Contrary to counsel's representations, then, the        demonstrated by the Agreement, Respondent accepted
key holding in DuPont is that "a non-signatory should         those terms.
not be permitted to embrace a contract for some
                                                              Robert Brous, in his affidavit, seemed to appreciate
purposes and then disclaim that same contract's
                                                              these facts. Counsel, recently, conveniently, and without
unfavorable terms."      Amkor Technology v. Alcatel
                                                              evidence or cause, have sought to disclaim these terms.
Business Systems, 278 F. Supp. 2d 519, 521-522
                                                              Counsel have also misrepresented and abused key
(E.D.P.A., 2003) (citing DuPont, 269 F.3d at 200).
                                                              authorities. A proper evaluation of Petitioner's
                                                              obligations and the relevant case law in this Circuit
Fifth, in the January 28, 2004 letter, counsel cite
                                                              leave no question that this petition is without merit. What
Zimring v. Coinmach Corp., 2000 U.S. Dist. LEXIS
                                                              little hay it makes is due exclusively to counsel's
18221, No. 00 Civ. 8111, 2000 WL 18551155 (S.D.N.Y.,
                                                              sanctionable activities. Respondent's Response made
Dec. 19, 2000) in support of [*54] the proposition that,
                                                              much of this evident. Counsel should have abandoned
while Petitioner may be bound by some terms of the
                                                              the petition and allowed the matter [*56] to go to
Agreement, it is not bound by the arbitration clause in
                                                              arbitration. Instead, Counsel made matters worse and
numbered paragraph 19 because "the court may
                                                              worse for themselves by their conduct in their Reply, at
separately consider and parse various provisions of the
                                                              oral argument, and in the January 28, 2004 letter to this
contract." January 28 Letter at 2. This use of Zimring is
                                                              Court.
misleading. The facts in that case were not at all similar
to this case. There the plaintiff took affirmative steps to   IV. CONCLUSION
limit his participation in the contract. Zimring 2000 U.S.
Dist. LEXIS 18221, [WL] at *1. Here, Petitioner took no       For the foregoing reasons the Court makes the following
such steps. Furthermore, Petitioner, as Respondent's          ORDER:
Financial Services Organization, is specifically
                                                              1. The petition to stay or enjoin the arbitration pending
referenced in the arbitration agreement found in
                                                              before the New York Stock Exchange is denied. The
paragraph 19 of the Margin Account Agreement.
                                                              petition is dismissed, with prejudice. The arbitration will
These citations to authority are problematic because          proceed according to the rules and procedures of the
they might support an inference that counsel attempted        New York Stock Exchange.
to mislead the Court.
                                                              2. Counsel for Petitioner who signed the papers in this
                                                              case are directed to file written submissions on or
C. Factual Misrepresentations                                 before March 31, 2004, showing cause why they have
                                                              not violated Rule 11(b)(2) as the result of the filings and
Arguing in support of their contention that Petitioner is     oral presentations described in Part III of this opinion.
not bound by the terms of the Margin Account
Agreement, counsel stated, at the oral argument, that         3. Since a district court's sua sponte sanctioning of an
Petitioner was not a beneficiary of the Agreement. This       attorney does not authorize the court to award the
is not so. Not only is Petitioner, as the Financial           opposing party its attorney's fees, an award that can be
Services Organization, referred to numerous times in          made only by motion, Nuwesra, 174 F.3d at 94-95,


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counsel for Petitioner need not serve copies of its
submissions on counsel for Respondent.

4. After considering the written submissions of
Petitioner's counsel, the Court will [*57] schedule a
hearing at which counsel may make such further
submissions as they may be advised, and respond to
such questions as may occur to the Court.

It is SO ORDERED.

Dated: February 25, 2004

CHARLES S. HAIGHT, JR.

UNITED STATES DISTRICT JUDGE


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                                              Maddy Sinkovich
